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                         CRIMINAL MINUTES

2:19-cr-53
USA v. Andrew K. Mitchell
(Custody)


                              Change of Plea
          held on Thursday, December 7, 2023 at 2:15 p.m.
                before Judge Edmund A. Sargus, Jr.


For Govt: Kevin Kelley and Noah Litton

For Deft: Mark Collins and Kaitlyn Stephens

Court Reporter: Crystal Hatchett

Courtroom Deputy: Christin Werner

The defendant changed his plea to guilty to counts 1, 2 and 8 of the
superseding indictment.
PSI Ordered.
